              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MICHIGAN
                         GRAND RAPIDS DIVISION


JASON ICKES, voter

KEN BEYER, voter

MACOMB COUNTY REPUBLICAN                    Civil Action No. : ____________________
PARTY by its officers of the Executive
Committee,                                  JURY DEMAND

DONNA BRANDENBURG, US Tax
Payers Candidate for the 2022 Governor of
Michigan,

ELECTION INTEGRITY FUND AND
FORCE, a Michigan non-profit
corporation, AND

SHARON OLSON, in her official capacity
as the Clerk of Irving Township Barry
County

      Plaintiffs,

v.

GRETCHEN WHITMER, in her official
capacity as the Governor of Michigan, and

JOCELYN BENSON, in her official
capacity as Michigan Secretary of State

MICHIGAN BOARD OF STATE
CANVASSERS,

      Defendants.

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                           VERIFIED FIRST AMENDED COMPLAINT



        NOW COMES Plaintiffs pursuant to 28 U.S.C. § 2201, 52 U.S.C. § 20705, 42 U.S.C. § 1983,

and MCLA § 168.46, and hereby files this Verified Complaint and requests that this Honorable Court

declare the rights, status and/or legal relations between the parties, enjoin and/or restrain The State of

Michigan from destroying 2020 presidential election evidence, award damages in an amount to be

determined by a jury and issue an Order compelling the Michigan Governor and Michigan Secretary

of State to decertify the 2020 presidential election and, in support thereof, Plaintiff would show unto

the Court the following:

                                I.      PARTIES

        1.      Plaintiff Jason Ickes is a citizen of Michigan who voted in the 2020 presidential

election in Michigan and he is domiciled in Jenison, Ottawa County, Michigan.

                    a. Jason Ickles declares that he has suffered a particularized, individualized

                        harm in that he through counsel has requested information by FOIA that has

                        not been provided and has been reported as not being preserved.

                    b. Further, Jason Ickes has reviewed affidavits, summary reports and other

                        evidence including evidence from expert witnesses that shows that some

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                     votes in the Presidential Election are not counted as cast, that votes reported

                     by voters have been removed and that votes cast in person are reported as

                     cast by absentee with fictitious records demonstrating a ballot was mailed

                     and returned.

                  c. As the ballot process in Michigan is secret and the votes as counted cannot

                     be attributed to an individual voter, Jason Ickes asserts that there is no way

                     any voter could ever establish whether their individual vote was recorded

                     as cast and therefore the voter must rely on the process to meet standards of

                     security or be an open and transparent process that will not permit the

                     alteration of a vote.

                  d. Therefore, Jason Ickles asserts standing in that his vote was diluted and that

                     there is substantial concern that the 2020 election did not determine the

                     winner of the presidential election accurately.

       2.     Plaintiff Ken Beyer is a citizen of Michigan who voted in the 2020 presidential

election and is domiciled in Allegan County, Michigan.

                  a. Ken Beyer declares that he has suffered a particularized, individualized

                     harm in that he through counsel has requested information by FOIA that has

                     not been provided and has been reported as not being preserved.

                  b. Further, that Ken Beyer has reviewed affidavits, summary reports and other

                     evidence including evidence from expert witnesses that shows that some

                     votes in the Presidential Election are not counted as cast, that votes reported

                     by voters have been removed and that votes cast in person are reported as




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                      cast by absentee with fictitious records demonstrating a ballot was mailed

                      and returned.

                  c. As the ballot process in Michigan is secret and that the votes as counted

                      cannot be attributed to an individual voter, Ken Beyer asserts that there is

                      no way any voter could ever establish whether their individual vote was

                      recorded as cast and therefore the voter must rely on the process to meet

                      standards of security or be an open and transparent process that will not

                      permit the alteration of a vote.

                  d. Therefore, Ken Beyer asserts standing in that his vote was diluted and that

                      there is substantial concern that the 2020 election did not determine the

                      winner of the presidential election accurately.

       3.      Plaintiff Macomb County Republican Party is a county political party that elected

an executive committee for Macomb County as defined by MCL 168.599 which selected its chair

Mark Forton and the officers of Macomb County who join this action in both their official capacity

and as voters in the 2020 Presidential Election. They are residents of Macomb County, Michigan.

                  a. That as the leaders of a county executive committee, the MCRP officer have

                      a particularized injury in that they and others from their county political

                      party have provided substantial money, time, and effort to support a

                      candidate for President that was determined to have lost the 2020 election.

                  b. That as the leaders of a county political party they have also reviewed the

                      Edison election data results from the 2020 election that show significant

                      problems in the precincts from Macomb County as they reported data in a

                      cumulative process had the data show significant abnormalities. The



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                     process is additive only but here were changes that showed both the total

                     vote and the manner of voting being altered in increments as best displayed

                     in the video located at https://rumble.com/v1cop5n-macomb-county-2020-

                     election-in-ninety-seconds.html

                  c. That the Macomb County Republican Party indicates that the election

                     results reporting shows manipulation of the voting in real-time at a speed

                     that it must be generated by the Electronic Voting Systems and the Election

                     Management Systems.

                  d. That the precincts as they report their tabulated totals should not have

                     amendments that delete or remove the vote totals or the total by whether a

                     vote was cast in person or absentee.

                  e. All officers also were voters in the 2020 elections and have concerns about

                     the machine ‘flipping’ votes in Antrim County, affidavits from around the

                     state that show that voters report no record of their vote, an improper record

                     as absentee when voting in person or that persons voted from their property

                     without being residence

       4.     Plaintiff Donna Brandenburg is a candidate for Michigan governor for the US

Taxpayers party and on the ballot on November 8, 2022, and was a voter in the 2020 Election

                  a. Donna Brandenburg reasserts as a voter that she has reviewed the evidence

                     that her vote was diluted, that she has no way with a secret ballot to

                     determine if her vote was individually flipped, and that she is aware of the

                     problems in Antrim.




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b. Many media reports that this has been repeated and found with other hand

   recounts recently, including the report here from Dekalb County Georgia in

   the     2022       election.     Again       described      as      a     glitch

   https://www.fox5atlanta.com/news/dekalb-county-certifies-primary-

   election-results-following-glitch. While this was in a Democratic primary it

   resulted in a candidate who finished third being declared the primary

   winner. This was after she discovered that the third-place finisher won the

   precinct reported her at zero votes despite knowing that she and her husband

   voted. This glitch again was only discovered by chance and confirmed that

   ballots flipped with a hand recount.

c. Media reports that a hand recount showed vote flipping on an abortion ballot

   proposal in which the results changed the outcome while only counting a

   partial amount and after spending more than $100,000 in Cherokee County,

   Kansas. https://www.pbs.org/newshour/politics/kansas-election-officials-

   confirm-recount-results-in-favor-of-abortion-rights.

d. Donna Brandenburg raises the issue of the accuracy of the tabulation

   process not only as a voter whose vote was diluted in 2020 but as a candidate

   in the next election as she is on the ballot for a third party, the US Tax Payers

   Party of Michigan.

e. It is critical to third-party candidates that every vote be counted accurately

   even when the votes do not determine the outcome as it relates to funding

   and ballot presence. In the 2022, Michigan Governor race, Candidate

   Brandenburg has a good-faith belief that she is able to win the race.



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       5.     Plaintiff Election Integrity Fund and Force (EIF) is a Michigan non-profit

organization that is concerned as a non-partisan community activist organization dedicated to

having accurate, honest elections in Michigan.

                  a. EIF has spent a significant amount of time and money to understand

                      whether the 2020 Presidential Election Results accurately reported what

                      occurred in the election.

                  b. The focus of EIF was not on the outcome but rather as a public interest

                      entity with a mission to determine whether voter records were accurate. As

                      such they have sent requests for information under Michigan’s Freedom of

                      Information Act (FOIA) to multiple townships, city and county clerks as

                      well as the Michigan Secretary of State.

                  c. EIF has also had teams of volunteers canvass in many precincts throughout

                      Michigan and has collated information, affidavits, and witness statements

                      from many jurisdictions that reflect problems with the integrity of the

                      election—again without regard to outcome.

                          i. There are ‘phantom’ voters which have a record of voting at an

                             address where the address either does not have a residence or the

                             residents say that the voter did not live there at the time of the

                             election.

                         ii. There are voters which report having voted but the records of the

                             Secretary of State do not show that a ballot was received and

                             tabulated.




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iii. There are voters who report voting in person but the records of the

      Secretary of State show that an absentee ballot was mailed and/or

      returned with the voter disputing that as untrue.

iv. The findings from extensive communication with voters from

      around Michigan are condensed into seven (7) reports found at

      https://electionintegrityforce.com/.

 v.   Report three (3) shows that the Secretary of State is continuing to

      alter voting history long after the seven days that clerks have by law

      to update their information and that there are irreconcilable

      differences.

      https://cdn.shopify.com/s/files/1/0599/1212/6656/files/Report-3-

      Irreconciable-Differences.pdf?v=1651894022

vi. Report seven (7) shows a summary of canvass results where voters

      were canvassed on whether the machines had accurately recorded

      the voter activity.

      https://cdn.shopify.com/s/files/1/0599/1212/6656/files/The_Final_

      EIF_Canvass_Results_Aug_2022.pdf?v=1660433527

vii. As a public interest group devoted to understanding and compiling

      information from a non-partisan perspective, EIF claims standing in

      that they have been uniquely effected in that they have had to divert

      enormous resources and energy to investigate fairly what occurred

      in the 2020 election




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       6.     Plaintiff Sharon Olson is the duly elected Clerk for Irving Township, Barry County

Michigan, and responsible by statute for conducting the 2020 and 2022 elections.

                  a. Sharon Olson is a local election law clerk.

                  b. Sharon Olson does not have a stake in the outcome of the 2020 or future

                      elections but has a legal obligation to make sure that she conducts the best

                      and fairest election possible under the law.

                  c. As an election clerk she is required by the Michigan Secretary of State to

                      use the Electronic Voting System, or she faces the threat of removal

                      (probably unconstitutional threat) or being charged with a misdemeanor for

                      failure to comply with an instruction.

                  d. The use of an uncertified machine or a machine that is not properly certified

                      by an accredited laboratory is repugnant to Sharon Olson.

                  e. The machine is either qualified to run an election with the software and

                      hardware meeting the current security guidelines or it is not.

                  f. As an election clerk, Sharon Olson faces a unique harm in that she would

                      like to conduct an honest, fair transparent election without exposing her

                      constituents to a device that is uncertified for protection against

                      cybersecurity breaches (foreign or domestic) and does not provide a

                      transparent audit trail for her constituents to be able to be assured that the

                      election results represent the votes as cast by voters eligible to vote in her

                      township.




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            7. The Michigan Governor, the Secretary of State and the Board of State

               Canvassers are appropriate parties to the action as they played a part in the

               certification of the 2020 election result from Michigan.

                       It is well-settled that a state official may properly be made a party to
                       a suit seeking to enjoin the enforcement of an allegedly
                       unconstitutional act if that official plays some role in the
                       enforcement of the act. McCrimmon v. Daley, 418 F.2d 366, 368
                       (7th Cir. 1969); Oliver v. Board of Education of City of New
                       York, 306 F. Supp. 1286, 1288 (S.D.N.Y.1969); Coon v. Tingle, 277
                       F. Supp. 304, 306 (N.D.Ga.1967); Fitts v. McGhee, 172 U.S. 516,
                       530, 19 S. Ct. 269, 274, 43 L. Ed. 535 (1899).

       8.      There are three parties responsible for certifying the 2020 Presidential Election

pursuant to Michigan Law: The Governor, the Secretary of State and the Board of State

Canvassers.

       168.46 Presidential electors; determination by board of state canvassers; certificate
       of election.

       Sec. 46.

         As soon as practicable after the state board of canvassers has, by the official canvass,
       ascertained the result of an election as to electors of president and vice-president of the
       United States, the governor shall certify, under the seal of the state, to the United States
       secretary of state, the names and addresses of the electors of this state chosen as electors
       of president and vice-president of the United States. The governor shall also transmit to
       each elector chosen as an elector for president and vice-president of the United States a
       certificate, in triplicate, under the seal of the state, of his or her election.


       9.      On November 23, 2020, Defendant Gretchen Whitmer was the Governor of the

State of Michigan and she unlawfully certified Michigan’s 2020 presidential election results.

(Michigan’s 2020 presidential election certification is attached hereto as Exhibit 1).

                   a. As the Governor, Gretchen Whitmer is a proper defendant in that she

                       certified the 2020 election and must decertify the presidential election in




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                        order for a fair, honest election to be conducted in accordance with equal

                        protection requirements.

       10.      On November 23, 2020, Defendant Jocelyn Benson was the Secretary of State of

the State of Michigan and she unlawfully certified Michigan’s 2020 presidential election results.

                    a. As the Secretary of State, Joselyn Benson is the proper defendant as she (1)

                        has ‘supervisory control’ over the elections, (2) is charged with ensuring

                        compliance with HAVA; and (3) is responsible for authorizing the use of

                        electronic voting systems in Michigan.

                    b. Under the Michigan Election Law, 1954 PA 116, as amended, MCL 168.1

                        et seq., the Secretary of State is the Chief Election Officer of this State and

                        “shall have supervisory control over local election officials in the

                        performance of their duties under the provisions of this act.” MCL 168.21.

             11. County, City and Township Clerks are not proper defendants in the lawsuit because

                they lack authority over the use of the electronic voting systems as required by the

                Michigan Secretary of State.

             12. County Boards of canvassers are improper defendants because the Secretary of

                State has the authority to certify any election that the County Board refuses to

                certify and has therefore the final say in certification. Further, County Boards of

                Canvassers lack the authority to determine what, if an,y equipment is to be used

                within the Election System

             13. The Legislature has been solely entrusted with determining the assignment of

                Presidential electors and they chose that it would be done by popular vote in a

                lawfully conducted election. The legislature adopted as mandatory the HAVA



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                 standards for electronic voting systems and has not authorized the use of uncertified

                 or machines that have not been certified by an unaccredited laboratory or that use

                 software that has not been vetted in determining the actual vote.

              14. The Michigan Board of State Canvassers certified the 2020 Election Results from

                 each county despite the problems know including the issues from Wayne County

                 Michigan.

                           II.      JURISDICTION AND VENUE

        15.      This verified Complaint is filed pursuant to 28 U.S.C. § 1331 and seeks damages

pursuant to 42 U.S.C. § 1983 for violations of Plaintiff’s constitutional right to vote, as provided for

by the Fourteenth Amendment to the Constitution of the United States.

        16.      This verified Complaint is also filed pursuant to 28 U.S.C. § 2201 et seq. to 2201

“declare the rights and other legal relations of any interested party seeking such declaration, whether

or not further relief is or could be sought.” 28 U.S.C. § 2201.

        17.      This verified Complaint is also filed pursuant to 52 U.S.C. § 20705 and

requests that this Honorable Court issue a temporary restraining order to stop the Defendants

from destroying critical evidence from Michigan’s 2020 presidential election and from using

an electronic voting system that is not properly certified and provides an adequate audit trail

to the public.

                             III.   FACTUAL ALLEGATIONS

        18.      On November 3, 2020, Michigan attempted to conduct an election for

President of the United States of America.

        19.      However, as presented infra, the Defendants, Gretchen Whitmer and Jocelyn

Benson, did not have the legal authority to certify Michigan’s 2020 presidential election.



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          20.    Pursuant to the Constitution of the United States, “Each State shall appoint, in

such Manner as the Legislature thereof may direct, a Number of Electors, equal to the

whole Number of Senators and Representatives to which the State may be entitled in the

Congress: but no Senator or Representative, or Person holding an Office of Trust or Profit

under the United States, shall be appointed an Elector.” U.S. Const. art. II, § 1, cl. 2 (emphasis

added).

          A. The Electronic Voting System used in 2020 including the Election
          Management Software and Hardware (including ALL three (3) types of
          tabulators and the high-speed scanners (Machines) that were used in the 2020
          presidential election in Michigan were not certified or accredited in accordance
          with to MCL 168.795a

          21.    Pursuant to Michigan law, “an electronic voting system SHALL NOT BE

USED in an election” unless it meets certain requirements.

          168.795a Electronic voting system; approval by board of state canvassers;
          conditions; approval of improvement or change; inapplicability of subsection (1);
          intent to purchase statement; instruction in operation and use; disapproval.

          (1) An electronic voting system shall not be used in an election unless it is approved by
          the board of state canvassers as meeting the requirements of sections 794 and 795 and
          instructions regarding recounts of ballots cast on that electronic voting system that have
          been issued by the secretary of state, unless section 797c has been complied with, and
          unless it meets 1 of the following conditions:
           (a) Is certified by an independent testing authority accredited by the national association
          of state election directors and by the board of state canvassers.
           (b) In the absence of an accredited independent testing authority, is certified by the
          manufacturer of the voting system as meeting or exceeding the performance and test
          standards referenced in subdivision (a) in a manner prescribed by the board of state
          canvassers.

          22.    Michigan provided the following definition at MCLA 168.704(f)

          (f) "Electronic voting system" means a system in which votes are recorded and counted
          by electronic tabulating equipment.

          23.    Michigan provided the following definition at MCLA 168.704(e)




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       (e) "Electronic tabulating equipment" means an apparatus that electronically
       examines and counts votes recorded on ballots and tabulates the results.

       24.      After the Electronic voting system is approved any changes to the system,

especially the software, must also be approved pursuant to MCL 168.795a(6)

             (6) After an electronic voting system is approved, an improvement or change in
             the electronic voting system shall be submitted to the board of state canvassers
             for approval pursuant to this section. This subsection does not apply to the
             technical capability of a general purpose computer, reader, or printer to
             electronically record and count votes.

       25.      On information and belief, the electronic voting system software that was used

in the 2020 election was not certified either by an independent testing authority which was

accredited by the national association of state electors AND the board of state canvassers

       26.      On information and belief, the electronic voting system software that was used

in the 2020 election was not certified by the manufacturer of the voting system as meeting or

exceeding the performance and test standards of the board of state election directors in a

manner prescribed by the board of state canvassers.

       27.      Pursuant to MCL 168.795a, some additional pre-requisites for use in a

Michigan election include mandatory compliance with:

                    a. MCL 168.794 http://legislature.mi.gov/doc.aspx?mcl-168-794

                    b. MCL 168.795 http://legislature.mi.gov/doc.aspx?mcl-168-795

                    c. MCL 168.797(c) http://legislature.mi.gov/doc.aspx?mcl-168-797c

B.    The Laboratory used to certify the Electronic Voting Systems was not authorized to
perform testing and certification by the Help America Vote Act of 2002 as required by
Michigan law.


       28.      Pursuant to Michigan law, “the Secretary of State is responsible for the

coordination of the requirements imposed under this chapter, the national voter



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registration act of 1993, and the Help America Vote Act of 2002” M.C.L.A. § 168.509n

(emphasis added).

       29.     The requirement in Michigan Law, MCLA 168.509n,                 that directs the

Michigan Secretary of State to comply with the Help America Vote Act of 2002 was effective

on October 29, 2002.

       30.     The Help America Vote Act of 2002 created “the Election Assistance

Commission” and the Election Assistance Commission (EAC) is referred to in the Act as the

“Commission.” 52 U.S.C. § 20921 (formerly cited as 42 U.S.C. § 15321.

       31.     The Election Assistance Commission “shall serve as a national clearinghouse

and resource for the compilation of information and review of procedures with respect to the

administration of Federal elections by -- … (2) carrying out the duties described in part B of

this subchapter (relating to the testing, certification, decertification, and recertification of

voting system hardware and software)….” 52 U.S.C. § 20922 (formerly cited as 42 U.S.C. §

15322).

       32.     The Election Assistance Commission “shall provide for the testing,

certification, decertification, and recertification of voting system hardware and software by

accredited laboratories.” 52 U.S.C. § 20971(a)(1) (formerly cited as 42 U.S.C. § 15371)

(emphasis added).

       33.     Additionally, at “the option of a State, the State may provide for the testing,

certification, decertification, or recertification of its voting system hardware and software by

the laboratories accredited by the Commission under this section.” 52 U.S.C. § 20971(a)(2)

(for Pursuant to the U.S. Election Assistance Commission, there are only two Voting System

Test Laboratories (VSTL) that are accredited by the Election Assistance Commission: (1)



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Pro V&V; and (2) SLI Compliance. U.S. Election Assistance Commission, VOTING

SYSTEM TEST LABORATORIES (VSTL), https://www.eac.gov/voting-equipment/voting-

system-test-laboratories-vstl (last visited June 21, 2022) (emphasis added) merely cited as 42

U.S.C. § 15371) (emphasis added).

       34.      Michigan has expressly opted into compliance with 52 USC 2097 with MCL

168.509a.

 MICHIGAN HAS ELECTRONIC VOTING SYSTEMS IN USE BY COUNTIES
THAT ARE NOT CERTIFIED AND SOME OF THESE WERE CERTIFIED BY AN
                 UNACCREDITED LABORATORY.

       35.      Michigan has 83 counties that all had the option to select the electronic voting

system from the three choices provided by the Michigan Secretary of State.

       36.      A startling twenty-four (24) counties do not have a certified system pursuant

to   the     information   presented    at   https://www.eac.gov/voting-equipment/system-

certification-process (last visited August 31, 2022).

       37.      Almost 29% of the counties do not use a certified system.

       38.      Pursuant to the EAC website, eleven (11) Counties used Hart Verity 2.2.2.

which was certified. https://www.eac.gov/voting-equipment/system-certification-process

(last visited August 31, 2022).

       39.      Pursuant to the EAC website, forty-eight (48) counties use Dominion’s D-

Suite 5.5. https://www.eac.gov/voting-equipment/system-certification-process (last visited

August 31, 2022).

       40.      The Dominion Election Management system was used in more than 57% of

the Michigan counties




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           41.   Pursuant to the Michigan Secretary of State, the Dominion election voting

systems used in the November 3, 2020 presidential election were “certified” on November

15, 2019, with an EAC System ID # as follows: DVS-DemSuite5.5-B. Michigan Secretary of

State, Certified Vote Tabulating Equipment as of July 22, 2020.

           42.   The software version that was certified reports as version 5.5-B while the

website indicates that the counties were certified for use in version 5.5.

           43.   Regardless, these forty-eight (48) counties appear to have relied upon the

validity of the November 15, 2019 certification and the laboratory that performed the

testing.

                                ACCREDITATION ISSUE

           44.   Pursuant to the Michigan Secretary of State’s website and hyperlink in the

above PDF, DVS-DemSuite5.5 is manufactured by Dominion Voting Systems Corp and the

Testing      Laboratory   was   Pro    V&V.      U.S.   Election    Assistance   Commission,

https://www.eac.gov/voting-equipment/democracy-suite-55 (last visited August 29, 2022).




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       45.        Pursuant to the U.S. Election Assistance Commission’s website, Pro V&V

received a Certificate of Accreditation on February 24, 2015.




       46.        There is no evidence of that PRO V and V was recertified.

       47.        Pursuant to Version 2.0 of the Voting System Test Laboratory Program

Manual, which was effective May 31, 2015, “A grant of accreditation is valid for a period not

to exceed two years.” Voting System Test Laboratory Program Manual, p. 39, § 3.8.

       48.        On November 15, 2019, the Pro V & V Accreditation was lapsed by more

than two years.




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        49.     On November 15, 2019, Pro V&V was not accredited by the U.S. Election

Assistance Commission. U.S. Election Assistance Commission, https://www.eac.gov/voting-

equipment/voting-system-test-laboratories-vstl/pro-vv (last visited August 29, 2022).

        50.     Pro V&V did not receive another Certificate of Accreditation until January

27, 2021, which was after the 2020 presidential election.

        51.     Since Michigan law expressly requires that the “requirements imposed

under… the Help America Vote Act of 2002,” the Michigan voting machines or devices must

have been tested and approved by a laboratory that was accredited pursuant to the Help

America Vote Act of 2002

        52.     However, Pro V&V was not even accredited on November 3, 2020, as a

laboratory in addition to having expired accreditation on the day of November 15, 2019, when

they claimed to certify the Dominion system.

        53.     Valid accreditation is governed by Rule 3.8 of the Voting System Test

Laboratory Manual Version 2.0 which was expired as 2/24/2017 for Pro V & V.

        54.     Under Rule 3.6.2 the EAC would be required to publish an application for a

Certificate of Accreditation, so no application was pending.

        55.     The only two enumerated exceptions to grant an extension or toll the time

frame of an accreditation are inapplicable as BOTH exceptions require a pending application

that was filed before the lapse of the previous certificate of accreditation.

    1. THE PROBLEM WITH THE ELECTRONIC VOTING SYSTEMS
       CERTIFICATION

        56.     The US Election Assistance Commission certifies electronic voting systems

to the federal standards and has issued three versions of the standards for electronic voting




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systems which are version 1.0; 1.1 and 2.0. Certified Voting Systems | U.S. Election

Assistance Commission (eac.gov)

        57.     The electronic voting systems include the hardware and software that is

used as described in the Michigan Election code which includes the three vendors each

offering different types of tabulators and the election management system software.

        58.     The requirement to also comply with the additional requirements of the Help

America Vote Act of 2002 was passed into Michigan law on October 29, 2002.

        59.     The essential components of the electronic voting systems include the election

management software that accumulates the precinct votes at the county level and the

tabulators that read the ballots and count the votes at a precinct level.

                    a. TABULATORS

        60.     On information and belief, none of the counties in Michigan used an electronic

voting system that was properly certified by the US Election Assistance Commission.

        61.     On information and belief, SOME of the counties in Michigan used an

electronic voting system that was not properly certified by the US Election Assistance

Commission.

        62.     On information and belief, all of the counties in Michigan intend to use an

electronic voting system that does not meet or exceed the current standards of the US EAC

which is VVSG 2.0 from 2021 in the November 2022 General Election.

        63.     On information and belief, many, if not all, of the counties in Michigan

electronic voting systems used in the 2020 Michigan Presidential election were not certified

to the standards of the US EAC VVSG 1.1 from 2009.




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       64.     On information and belief, the electronic voting systems used in the 2020

Michigan Presidential election were not certified to the standards of the US EAC VVSG 1.0

from 2005 in many, if not all, of the counties in Michigan.

               b. ELECTION MANAGEMENT SOFTWARE VVSG 2.0

       65.     The November 15, 2019 “certification” that was presented above for fifty-nine

(59) of the eighty-three (83) counties in Michigan was to the VVSG 1.1 standard from 2009.

       66.     On information and belief, the current election management software used

does not meet the current standards of the US EAC which is VVSG 2.0 from 2021.

       67.     The scheduled 2022 General Election will therefore use machines that are not

certified to the current standards unless this court enforces the law that requires the machines

comply.

                        2. SECURITY PROTECTIONS REQUIRED

       68.     VVSG 2.0 was “designed to meet the challenges ahead, to replace decade’s

old voting system standards, to improve the voter experience, and provide necessary

safeguards to protect the integrity of the voting process.” EAC Testing and Certification

Program.

       69.     The new upgraded requirements in VVSG 2.0 included security features:

                   a. Software independence is a requirement. A software independent

                       voting system does not rely solely on software and an undetected

                       change or error in its software cannot cause an undetectable change

                       or error in an election outcome. This includes the use of paper

                       ballots, cryptographically verifiable (E2E) ballots, access controls,

                       encryption, physical security, logging, and auditing.



                                                                                                   21
b. Wireless systems are disallowed. Voting systems are not allowed to

   connect wirelessly to external networks. Unused ports and processes

   must be removed or disabled. Accessibility is provided for by

   allowing the use of Bluetooth adapters connected to the voting

   device’s headphone jack as this does not increase the attack surface

   of the system. The use of firewalls, intrusion prevention, and other

   means is recommended in the requirements.

c. Physical security includes logically disabling physical ports that are

   not essential to voting operations. All new connections and

   disconnections must be logged.

d. Multi-factor authentication is required for all critical operations such

   as software updates, aggregating and tabulating votes, enabling

   network functions, changing device states (opening/closing polls),

   or modifying authentication mechanisms.

e. System integrity requires risk assessment and supply chain risk

   management strategy, removes non-essential services, requires

   exploit mitigation (e.g., address space layout randomization

   (ASLR), data execution prevention) and the system to be free of

   known     vulnerabilities,   cryptographic    boot    validation,   and

   authenticated updates.

f. Data protection requires FIPS 140-2 validated cryptographic

   modules (except E2E), cryptographic protection of various election

   artifacts and digitally signed cast vote records and ballot images



                                                                              22
        70.    Compliance with an outdated standard does not provide for a secure safe

election.

                      CONSEQUENCE OF NON-COMPLAINCE

        71.    Since the electronic voting systems were used in violation of Michigan law,

then said election is void ab initio, and said 2020 election cannot be certified by any of the

Defendants.

        72.    Since the Dominion Democracy Suite 5.5 has been not tested and approved

by a laboratory that is “accredited” pursuant to the Help America Vote act of 2002 to the

standards of the VVSG 1.0 or 1.1, the use said voting machine in the 2020 election was illegal.

These forty-eight counties cannot use their electronic tabulators or election management

software in the November 8, 2022 election or any further election until they comply with the

law

        73.    The E S voting systems being used in the twenty-four (24) other ES&S

systems has been not tested and approved by a laboratory that is “accredited” pursuant to the

Help America Vote act of 2002 to the standards of the VVSG 1.0 or 1.1, the use said voting

machine in the 2020 election was illegal.

        74.    Since NONE of the electronic voting systems used by the counties in

Michigan in 2022 are not compliant with the new VVSG 2.0 and tested and approved by a

laboratory for use in the 2022 Michigan General Election on November 8, 2022, then the

systems MUST not be used UNTIL they are compliant.

                          The 2020 Election cannot be certified.

        75.    Void ab initio is defined as “Having no legal effect from inception.”

Thompson Reuters Practical Law, definition of “Void ab initio” last visited June 21, 2022



                                                                                                  23
(https://1.next.westlaw.com/Glossary/PracticalLaw/I41334c8d07ef11ebbea4f0dc9fb69570?

contextData=(sc.Default)&firstPage=true&transitionType=Default)

          76.   Void ab initio means that the action taken is void; it is not voidable. See id.

          77.   Void ab initio means that the action taken “has no legal effect.” Id.

          78.   “A void action cannot be ratified or validated [or certified].” Id.

          79.   “An action that is void ab initio never had any legal effect.” Id (emphasis

added).

          80.   In order for Michigan to conduct a valid election, the Michigan Secretary of

State must comply with the requirements contained in M.C.L. § 168.795 and M.C.L. §

168509n et seq. as well as the requirements contained within the Help America Vote act of

2002 which is 52 U.S.C. § 20921.

          81.   Since the legal requirements contained in M.C.L. § 168.795; M.C.L. §

168509n et seq. and the Help America Vote Act of 2002 were not met, then the Michigan

Secretary of State and Governor had no authority to use any voting machine or device in

violation of said statutes.

          82.   Since the legal requirements contained in M.C.L. § 168.795; M.C.L. §

168509n et seq. and the Help America Vote Act of 2002, then the Michigan Secretary of State

and Governor had no authority to certify the results of Michigan’s 2020 presidential election

and their certification signatures are void ab initio.

          83.   As such, Michigan conducted an unlawful and illegal presidential election,

which the Michigan Secretary of State and Governor could not lawfully certify.




                                                                                                  24
           84.   As such, Defendant Gretchen Whitmer’s certification of Michigan’s 2020

presidential election was/is void ab initio as she did not have the requisite authority under

Michigan law to certify said election.

           85.   Defendant Jocelyn Benson’s certification of Michigan’s 2020 presidential

election was/is void ab initio as she did not have the requisite authority under Michigan law

to certify said election.

           86.   As such, it is incumbent upon this Court to issue a writ mandamus ordering

Defendant Jocelyn Benson, in her official capacity as the Michigan Secretary of State, and

Defendant Gretchen Whitmer, in her official capacity as the Michigan Governor to decertify

Michigan’s 2020 presidential election results.

           87.   It is further incumbent upon this Court to issue a writ of mandamus ordering

the Defendants to re-run the 2020 presidential elections instanter as the purported election

conducted on November 3, 2020, was/is void ab initio and said election is uncertifiable.

           88.   Plaintiffs all assert a constitutional right to participate in Michigan’s 2020

presidential election. See U.S. Const., Amend. 14.

           89.   Michigan’s failure/refusal to comply with M.C.L.A. § 168.795a and 52 U.S.C.

§ 20901 et seq. violates Plaintiff’s constitutional right to vote and said actions are actionable

pursuant to 42 U.S.C. § 1983.

           90.   Pursuant to Bush v Gore, 531 US 98 (2000), a voter has an equal protection

right to 1) access to the polls 2) to have the vote counted as cast (not altered) and 3) to not be

diluted.

                                   ELECTION RECORDS




                                                                                                     25
        91.      Pursuant to 52 U.S.C. § 20701, the Defendants are required to retain and

preserve all records and papers relating to Michigan’s 2020 presidential election.

        92.      Pursuant to MCL 168.811 certain records are required to be retained for two

years or six years.

                 MCL 168.811 Election returns, records, and applications; preservation;
                 destruction; time.

              Sec. 811.

                         All election returns, including poll lists, statements, tally sheets, absent
                 voters' return envelopes bearing the statement required by section 761, absent
                 voters' records required by section 760, and other returns made by the inspectors
                 of election of the several precincts must be carefully preserved and may be
                 destroyed after the expiration of 2 years following the primary or election at
                 which the same were used.

                         All applications executed under section 523, all voter registration
                 applications executed by applicants under section 497(3) and (4), and all absent
                 voters' applications must be carefully preserved and may be destroyed after the
                 expiration of 6 years following the primary or election at which those
                 applications were executed.


        93.      Pursuant to the Federal Prosecution of Election Offenses Seventh Edition

May 2007 (Revised August 2007) (justice.gov)The manual called the Federal Prosecution

of Election Offenses (8th Edition) the most current edition is found at the link is mislabeled

seventh edition above. The manual is from December of 2017:

                 The retention requirements of Section 20701 are aimed specifically at election
                 administrators. In a parochial sense, these laws place criminally sanctionable
                 duties on election officials. However, in a broader sense, this federal retention law
                 assists election administrators in performing the tasks of managing elections and
                 determining winners of elective contests. It does this by requiring election
                 managers to focus appropriate attention on the types of election records under
                 their supervision and control that may be needed to resolve challenges to the
                 election process, and by requiring that they take appropriate steps to ensure that
                 those records will be preserved intact until such time as they may become needed
                 to resolve legitimate questions that frequently arise involving the election process.
                 [Fed Prosecution of Election Offenses at page 89]

                                                                                                    26
                 Section 20701 does apply to all records generated in connection with the process
                 of registering voters and maintaining current electoral rolls [at page 89]

                 This statute must be interpreted in keeping with its congressional objective: under
                 Section 20701, all documents and records that may be relevant to the detection or
                 prosecution of federal civil rights or election crimes must be maintained if the
                 documents or records were generated in connection with an election that
                 included one or more federal candidates. [at page 90]


       94.       Electronic records from the election that were generated include but are not

limited to audit logs and security logs as well as electronic files of the cast vote records and

ballot images.

       95.       VVSG 2.0 requires the logging of the “audit trail” and the audit trail is required

by MCL 168.794.

       96.       Attached are some of the requirements from the VVSG 2.0 which was adopted

by the Michigan Legislature in MCL 169.609n when it adopted the Help America Vote Act

of 2002 and mandate its voluntary standards into the use of electronic voting machine

requirements. See Appendix A

       97.       Pursuant to 52 U.S.C. § 20701, Defendants are only required to preserve the

evidence for twenty-two (22) months.

       98.       11/03/20 + 22 months = 09/03/22

       99.       Many records of the 2020 election have yet to be produced despite requests

from FOIA, or have been reported lost.

       100.      There is no requirement in law ever to destroy or delete these records.

       101.      The Court must enter a preservation order for these records until this case is

concluded or further order of the court.




                                                                                                      27
          102.   Pursuant to 52 U.S.C. § 20705, the United States District Court for the district

in which a demand is made pursuant to 52 U.S.C. § 20703 shall have jurisdiction.

          103.   The rights under 52 USC 20701 may not be enforceable by a private citizen

in a separate action and the request for preservation is not made on the basis of the cause of

action-rather the records are asked to be preserved to allow discovery into the underlying

claim which is that there has been a denial of equal protection to the voters of Michigan when

the machines that determine election outcomes do not meet a legislatively mandated standard

of compliance which is designed to ensure the security of elections. This preservation order

is needed because of the pending expiration of federal and state records retention minimums

but the preservation order is NOT requested based on the statutes rather it is based on

preservation of discovery needed to prosecute this lawsuit.

          104.   The security of elections standards are important because it is likely that vote

flipping will go largely undetected because of ballot secrecy when the ballots are

commingled—especially when there is not a transparent audit trail.

          105.   The best protection of Equal Protection is to comply with current standards

that have been set forth by the US Election Assistance Commission in the most current VVSG.

                 DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

          106.   Plaintiffs incorporate by reference all paragraphs above as if fully stated

herein.

          107.   Plaintiffs request a declaratory judgment that the Help America Vote Act of

2002 is constitutional.

          108.   Plaintiffs request declaratory relief that the Help America Vote Act

established the US Election Assistance Commission



                                                                                                    28
        109.      Plaintiffs request declaratory relief that the US Election System has adopted

the Voluntary Voting System Guidelines.

        110.      Plaintiffs request declaratory relief that Michigan has adopted the Help

America Vote Act and the voluntary guidelines as mandatory requirements.

        111.      Plaintiff requests declaratory relief that the Secretary of State is responsible

for coordination of the requirements of the Help America Vote Act pursuant to MCL

168.509n.

        112.      Plaintiffs request declaratory relief that the VVSG has issued three versions of

the guidelines:

        2005 VVSG 1.0

        2009 VVSG 1.1

        2021 VVSG 2.0

        113.      Plaintiff requests declaratory relief that Electronic Voting Systems must meet

certain standards to have certification.

        114.      Plaintiffs request declaratory relief that the Election Assistance Commission

has the authority to accredit laboratories for testing of the Electronic Voting Systems and that

such an accreditation is required for certification.

        115.      Plaintiffs request declaratory relief that the mandatory standards in effect at

the time of the 2020 election was VVSG 1.1.

        116.      Plaintiffs request declaratory relief that the electronic voting systems used by

24 Michigan counties provided by manufacturer ES&S were not certified as meeting the

VVSG 1.1 for the 2020 election.




                                                                                                     29
        117.    Plaintiffs request declaratory relief that the electronic voting systems used by

48 Michigan counties provided by manufacturer Dominion were not certified as meeting the

VVSG 1.1 for the 2020 election; to wit: the software used was not the software tested or in

the alternative, the laboratory was not accredited rendering the certification an opinion.

        118.    Plaintiffs request this Honorable court enter declaratory relief as to whether

the electronic voting system in Michigan was therefore improperly used in the Michigan 2020

election.

        119.    Plaintiffs further requests declaratory relief that the electronic voting systems

be required to meet the VVSG 2.0 in any future Michigan elections.

        VIOLATION OF CONSTITUTIONAL RIGHTS UNDER 42 USC § 1983

        120.    Plaintiff incorporates all prior allegations…

        121.    Under 42 USC § 1983 an individual may bring an action against state actors

under 42 USC § 1983 for a deprivation of his or her constitutional rights.

        122.    A cause of action under 42 USC § 1983 must allege deprivation by a

governmental entity, governmental official, or a state actor acting as a governmental entity or

official, of rights secured by the United States Constitution.

        123.    The right to vote is the fundamental constitutional right held by each

individual citizen of the United States and is preservative of all other rights.

        124.    Under the First, Ninth, and Fourteenth Amendments, inter alia, Plaintiff has a

constitutional right to vote for the candidate of his choice, but also the constitutional right not

to have his vote diluted, canceled out, and/or nullified by the counting of illegal or false or

fraudulent votes and/or by the failure to count legal votes, and or by the certification of

fraudulent and/or unverifiable votes. Reynolds v Sims, 377 U.S. 533, 555 (1964).



                                                                                                      30
        125.    Under the Equal Protection Clause, Plaintiff has a constitutional right to enjoy

equal protection of the law and equal treatment in exercising his right to vote; and the

constitutional right not to have his vote diluted, canceled out, and/or nullified by the counting

of illegal or false or fraudulent votes and/or by the failure to count legal votes, and or by the

certification of fraudulent or unverifiable votes. Cite equal protection clause; Reynolds, supra.

        126.    Due to the failure on the part of Defendants to have ensured certification or

otherwise caused to be certified voting machines used in the state of Michigan in the

November 2020 election, individual ballots cast by Plaintiffs were diluted, canceled out,

and/or nullified.

        127.    This dilution is demonstrated in that unauthorized ballots were cast in the 2020

election.

        128.    Further that while Antrim was corrected by hand count that ballot flipping is

hard to detect without the public having access to the audit trail or having a hand count—

Antrim is not an isolated clerk issue.

        129.    If the Defendants named herein cause, direct, or otherwise allow the

information and data required to be preserved for 22 months under Michigan Law destruction

of such will make it impossible to demonstrate that the failure of certification of voting

machines, as well as other fraudulent, intentional, grossly negligent, and negligent acts on the

part of the Defendants, caused Plaintiff’s constitutional rights to be violated as described

herein under the stated causes of action available under 42 USC § 1983.

        130.    The preservation request but any 42 USC § 1983 action and the that

defendants’ fraudulent, intentional, reckless, grossly negligent, and negligent acts were the

proximate cause of deprivation of Plaintiff’s constitutional rights as stated herein in the fact



                                                                                                    31
that Michigan provides for an audit trail in MCL 168.795k which is a part of the voting

franchise and was incorporated into the Michigan Constitution which guaranteed the right of

every citizen to request an audit in Article 4 Section H which provides for the “right to have

the results of statewide elections audited, in such a manner as prescribed by law, to ensure the

accuracy and integrity of elections. This bears directly on the Equal Protection clause which

protects against the altering or dilution of votes

        131.    The Plaintiffs declare that there is substantial evidence that the equal

protection right has been violated, including but not limited to:

                    a. There are many voters who reported by affidavit to Election Integrity

                        Fund and Force that they cast a ballot in the 2020 election but the

                        Secretary of State QVF history does not record their vote as being cast

                        and are not otherwise accurate. This is evidence of not having had

                        votes recorded as cast.

                    b. Accurately also means that QVF histories provided by the Michigan

                        Secretary of State on December 1, 2020; December 31, 2020, and

                        April 1, 2021, show that there is alteration of the records from report

                        to report.

                    c. There are many residences in Michigan that have voters who have

                        attested in affidavit that persons who have recorded a voted in the QVF

                        as not being a resident of the home. This is evidence of votes being

                        recorded to persons who do not have the legal authority to vote in that

                        jurisdiction.




                                                                                                   32
       d. There are many voters who have provided an affidavit that they voted

          in person and never received or returned a mail-in-ballot but the QVF

          shows that the voter voted absentee and falsely records the return of a

          ballot by mail.

       e. That these problems are not limited to any single jurisdiction and can

          not be the result of clerical error.

       f. That Antrim County which used a Dominion Electronic Voting

          System had results in which the machine ‘flipped’ votes from one

          candidate to another.

       g. That on information and belief that this has occurred in other counties

          in Michigan

       h. That evidence has come out demonstrating this vote “flipping”

          problem has occurred in other US jurisdictions most recently in

          Cherokee County Kansas and DeKalb County Georgia.

       i. That without preservation and access to all of the 2020 election records

          including ballots, ballot images, audit logs, the electronic Cast Vote

          Records, the tabulator reports, the tabulator configuration and security

          logs, and the electronic poll book and its configuration, audit and

          security logs then there will be no way through discovery to determine

          the extent of the problem

132.      A lack of valid certification which sets forth a minimum security and

   cyber security standard before use of the machine should not require a

   showing that the machine was unsecure or that votes were altered, improperly



                                                                                     33
   counted or otherwise improperly recorded—instead the failure of certification

   to the minimum standard is itself a violation of Equal Protection.

133.       Equal protection as explained in Bush v Gore, 531 US 98 (2000)

   required that the legislature adopt an objective standard for the counting of the

   votes. This ultimately resulted in HAVA which set forth—the standard

   (VVSG) when adopted by the Michigan Legislature is what prevents the use

   of voting system that arbitrarily and capriciously determines the outcome of

   an election.

134.       Equal Protection Rights were therefore violated in the November 3,

   2020, Presidential Election in fundamental ways:

       a. First, the votes of the Plaintiffs and others were diluted by ballots that

           were not authorized to cast a ballot in the election;

       b. Second, the failure to provide a public audit trail to ensure the rights

           were protected even when guaranteed in the Michigan Constitution to

           safeguard the right

       c. Third, failure to adhere to a legislative standard that is free from

           arbitrary and capricious state action requires every electronic voting

           system used in Michigan county to count votes and report election

           outcomes be actually certified to the objective current standard of

           VVSG as outlined in HAVA by a VSTL that is accredited by the US

           Election Assistance Commission.

       d. The failure to require all Voting System Test Laboratories (VSTL) to

           have a valid accreditation before issuing a certification (opinion) on



                                                                                       34
           compliance of an electronic voting system used in the 2020 election to

           count votes and report election outcomes. The VSTL is another

           standard that prevents arbitrary and capricious state action.

       e. The use of some counties which adhered to an objective standard (11)

           while the remaining counties failed to comply is treating the approval

           of electronic voting systems differently and therefore treating the

           election differently to each voter in how the vote is protected and the

           audit trail is preserved.

135.       The violation of equal protection was willful and intentional in that the

   Michigan Secretary of State knew that the electronic voting systems were not

   properly certified to VVSG 1.1 standards as configured and/or the the

   certification was by a laboratory that did not meet the VTSL version 2.0

   standards as required by Michigan Law and HAVA.

136.       The lawsuit has advanced two legal causes of action 1) for declaratory

   relief and 2) damages for violation of equal protection rights.

137.       The lawsuit seeks additional equitable remedies 1) mandamus asking

   for the redo of the presidential election, 2) injunctive relief for the preservation

   of election generated data from 2020; and 3) injunctive relief for non-

   compliance with HAVA as required by Michigan Law.

138.       There is no legally binding precedent on whether the 2020 Presidential

   Election can be re-run when there are significant issues with the election

   records and electronic voting systems were not ‘qualified’ to conduct the

   election.



                                                                                          35
     139.        Ordering an election to be re-run is a traditional remedy when there

        are irregularities and fraud. Recently the media reported that in 2020 a New

        Jersey Judge ordered an election to be re-run. Judge Orders New Election

        Must Be Held In New Jersey After Mail-In Voter Fraud Charges | The Daily

        Wire

     140.        Attached is the verification by Jason Ickes.



WHEREFORE, premises considered, the Plaintiffs pray as follows:

1.      That good and adequate service be had on all Defendants;

2.      That this Court issue a preliminary injunction ordering

        a.   the Defendants to remove any/all election equipment for the 2022

             elections that is not certified by an accredited voting system test

             laboratory: and

        b. the Defendants to preserve all 2020 presidential election records

             (electronic or otherwise) indefinitely as the 2020 presidential election is

             still being investigated.

3.      That this Court issue a permanent injunction against the future use of

        electronic voting systems in Michigan that are not certified by an accredited

        laboratory (VSTL compliant ) as complying with the current standards of the

        (VVSG compliant) especially as it relates to the security and integrity of the

        elections overseen by the Michigan Secretary of State

4.      That this Court issue a writ of mandamus compelling the Michigan Secretary

        of State and Governor to



                                                                                           36
              a. decertify the Michigan’s 2020 presidential election and to recall

                  Michigan’s Joseph R. Biden presidential electors;

              b. order the Defendants to work together to rerun the Michigan 2020

                  presidential election as soon as possible, by way of a special election, with

                  paper ballots only, on a single election day, with the votes being counted

                  by hand, with members of all political parties present to observe, with a

                  public livestream of all vote counting;

       5.     In addition, the Plaintiffs request

              a. An award of damages to be determined by a jury of twelve (12);

              b. An award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

              c. Such other relief to which the Plaintiffs may show themselves to be

                  entitled.

       Respectfully submitted this 9th day of September 2022.



/s/Daniel J. Hartman                                   /s//RUSSELL NEWMAN

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                                                      *Application to Western District
                                                      Forthcoming




                                                                                                  37
APPENDIX A: VVSG Standards for Preserving Generated Electronic Records

10.2.4. B The voting system needs to be constructed so that the security of the system
does not rely upon the secrecy of the event logs. It will be considered routine for event
logs to be made available to election officials, and possibly even to the public, if election
officials so desire. The system will be designed to permit the election officials to access
event logs without fear of negative consequences to the security and integrity of the
election. For example, cryptographic secret keys or passwords will not be logged in event
log records.


11.1 – Access privileges, accounts, activities and authorizations are logged, monitored,
and reviewed and modified as needed ensures there are records in case there are errors or
incidents that need to be accounted for. The system also prevents logging any voter ID
information and prevents the logging capability from becoming disabled or the log entries
from being modified. The system provides administrators access to logs, allowing for
continuous monitoring and periodic review.

11.1-A – Logging activities and resource access
The voting system must log any access to, and activities performed on, the voting system,
including:
1. timestamps for all log entries;
2. all failed and successful attempts to access the voting system; and
3. all events which change the access control system including policies, privileges,
accounts, users, groups or roles, and authentication methods.
Discussion
In the event of an error or incident, the user access log can assist in narrowing down the
reason for the incident or error.
 • Timestamped log entries will allow for easy auditing and review of access to the voting
system.
• Access control logging supports accountability of actions by identifying and
authenticating users.
• Groups are a collection of users that are assigned a specific set of permissions. Roles are
an identity that is given specific permissions and can be assigned to a user. Any changes
to the permissions assigned to groups and roles should be logged to identify updates to a
user’s privileges.

11.1-C – Preserving log integrity
The voting system must prevent:
1. the logging capability from being disabled;
2. the log entries from being modified in an undetectable manner; and
3. The deletion of logs; with the exception of log rotation.




                                                                                          38
Discussion

This requirement promotes the integrity of the information logged by ensuring all
activities are logged. Additionally, it prevents these abilities from being an option within
the user interface.
This requirement promotes the integrity of the information logged by ensuring all
activities are not modifiable.
The removal of logs is only appropriate for log rotation, which is when the stored logs are
rotated out to create more space for continuous logging. The voting system should be
capable of rotating the event log data to manage log file growth. Log file rotation may
involve regular (e.g., hourly, nightly, or weekly) moving of an existing log file to some
other file name and/or location and starting fresh with an empty log file. Preserved log
files may be compressed to save storage space.

12.2-E – Logging enabled and disabled ports
An event log entry that identifies the name of the affected device must be generated when
physical ports are enabled or disabled.

Discussion

Logically disabling ports prevents unused ports from being used as a staging point for an
attack on the voting system.

Discussion

Whether a port is disabled or not is security relevant, especially once a security incident
has occurred, and this information would be useful when determining cause. 12.2-C –
Physical port restriction applies to physical restrictions, whereas 12.2-D – Disabling ports
discusses logical disabling of ports.




                                                                                         39
